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5    Attorney for Defendant: JOSE ANTONIO VELEZ
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8
                                  IN THE UNITED STATES DISTRICT COURT
9
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,                           )
                                                         ) Case No. 1:11-CR-00354 LJO
13          Plaintiff,                                   )
                                                         ) STIPULATION TO CONTINUE
14   vs.                                                 )
                                                         ) SENTENCING HEARING
15                                                       )
                                                         ) Date: April 28, 2014
16                                                       ) Time: 10:30 a.m.
                                                         ) Judge: Lawrence J. O’Neill
     JOSE ANTONIO VELEZ,                                 )
17
                                                         )
18
            Defendant.

19          IT IS HEREBY STIPULATED by and between the parties in this action, that Defendant,
20          JOSE ANTONIO VELEZ’S Sentencing Hearing currently scheduled for April 28, 2014 at 10:30
21   a.m., be continued to May 5, 2014 at 10:30 a.m. or as soon thereafter as the Court deems appropriate.
22          This continuance is necessary as so that Defendant, JOSE ANTONIO VELEZ’S parents and family
23   are able to be present at his sentencing hearing.
24   \\\
25   \\\
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                                  STIPULATION TO CONTINUE SENTENCING HEARING
                                    US v. JOSE ANTONIO VELEZ – 1:11-CR-00354 LJO
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1
     IT IS SO AGREED:
2
     Dated: April 28, 2014                             UNITED STATES ATTORNEY’S OFFICE
3
                                                       /s/    Kimberly A. Sanchez
4
                                                       KIMBERLY A. SANCHEZ, ESQ.
5                                                      Assistant United States Attorney

6
     Dated: April 28, 2014                             DANIEL HARRALSON LAW CORPORATION
7

8                                                      /s/  Daniel L. Harralson
                                                       DANIEL L. HARRALSON, ESQ.
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12                                                  ORDER
13
            The sentencing Hearing of April 28, 2014 at 10:30 a.m., is continued to May 5, 2014 at 10:30 a.m.
14
     for good cause stated.
15   IT IS SO ORDERED.
16
        Dated:    April 23, 2014                          /s/ Lawrence J. O’Neill
17                                                   UNITED STATES DISTRICT JUDGE
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                                STIPULATION TO CONTINUE SENTENCING HEARING
                                  US v. JOSE ANTONIO VELEZ – 1:11-CR-00354 LJO
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